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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE: PHILIPS RECALLED CPAP,                )
BI-LEVEL PAP, AND MECHANICAL                 )        Master Docket: Misc. No. 21-1230
VENTILATOR PRODUCTS                          )
LITIGATION,                                  )        MDL No. 3014
                                             )
This Document Relates to: All Actions        )

         Joint Proposed Agenda for March 14, 2024 Status Conference: Philips MDL 3014

  1. Discovery Update/Status of Proceedings with Special Master Katz;

  2. Update on Contribution Claims in this MDL Against SoClean and DWHP;

  3. Update on Census Registry; and

  4. LDC Update.



Dated: March 12, 2024                                   Respectfully submitted,

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